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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 24-0296V


    RICHARD AOCHI,
                                                             Chief Special Master Corcoran
                         Petitioner,
    v.                                                       Filed: November 14, 2024

    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                        Respondent.


Jamie A. Robinson, Maglio Christopher & Toale, PA, Washington, DC, for Petitioner.

Nina Ren, U.S. Department of Justice, Washington, DC, for Respondent.

                                DECISION AWARDING DAMAGES1

       On February 26, 2024, Richard Aochi filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered from Guillain-Barre Syndrome (“GBS”)
as a result of receiving an influenza vaccine on October 28, 20222. Petition at 1. The case
was assigned to the Special Processing Unit of the Office of Special Masters.

        On October 17, 2024, a ruling on entitlement was issued finding Petitioner entitled
to compensation. On November 14, 2024, Respondent filed a proffer on award of
compensation (“Proffer”) indicating Petitioner should be awarded a total of $123,415.40,
consisting of $121,700.00 in pain and suffering, and $1,715.40 in past unreimbursable
expenses. Proffer at 1-2. In the Proffer, Respondent represented that Petitioner agrees
with the proffered award. Id. Based on the record as a whole, I find that Petitioner is
entitled to an award as stated in the Proffer.


1
  Because this Decision contains a reasoned explanation for the action taken in this case, it must be made
publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or
at https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government
Act of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Decision will be available to anyone with access to the internet. In
accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other
information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I
agree that the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2018).
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       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $123,415.40 (consisting of $121,700.00 in pain and suffering and
$1,715.40 in past unreimbursable expenses) in the form of a check payable to
Petitioner. This amount represents compensation for all damages that would be available
under Section 15(a).

       The Clerk of Court is directed to enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS

                                                     )
 RICHARD AOCHI,                                      )
                                                     )
                Petitioner,                          )
                                                     )   No. 24-296V
 v.                                                  )   Chief Special Master Corcoran
                                                     )   ECF
 SECRETARY OF HEALTH AND HUMAN                       )
 SERVICES,                                           )
                                                     )
                Respondent.                          )
                                                     )

             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On February 26, 2024, Richard Aochi (“petitioner”) filed a petition for compensation

(“petition”) under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -

34, as amended. He alleges that, as a result of receiving the influenza vaccine on October 28,

2022, he suffered from Guillain-Barre Syndrome (“GBS”). See Petition. On October 17, 2024,

respondent filed his Vaccine Rule 4(c) report, concluding that petitioner suffered GBS as defined

by the Vaccine Injury Table, within the Table timeframe. ECF No. 16. That same day, Chief

Special Master Corcoran issued a ruling on entitlement, finding that petitioner was entitled to

compensation for a GBS Table injury. ECF No. 17.

I.     Items of Compensation

       A.      Pain and Suffering

       Respondent proffers that petitioner should be awarded $121,700.00 in pain and suffering.

See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.
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       B.      Past Unreimbursable Expenses

       Evidence supplied by petitioner documents that he incurred past unreimbursable expenses

related to his vaccine-related injury. Respondent proffers that petitioner should be awarded past

unreimbursable expenses in the amount of $1,715.40. See 42 U.S.C. § 300aa-15(a)(1)(B).

Petitioner agrees.

       These amounts represent all elements of compensation to which petitioner is entitled

under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following1: a lump sum payment of $123,415.40, in the form of

a check payable to petitioner.

III.   Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Richard Aochi:                               $123,415.40

                                              Respectfully submitted,

                                              BRIAN M. BOYNTON
                                              Principal Deputy Assistant Attorney General

                                              C. SALVATORE D’ALESSIO
                                              Director
                                              Torts Branch, Civil Division

                                              HEATHER L. PEARLMAN
                                              Deputy Director
                                              Torts Branch, Civil Division


1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
                                                 2
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                                   JULIA M. COLLISON
                                   Assistant Director
                                   Torts Branch, Civil Division


                                   /s/ Nina Ren
                                   NINA REN
                                   Trial Attorney
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DATED: November 14, 2024




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